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Exhibit E
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Robert L. Stepans
Ryan R. Shaffer
James C. Mumion
Meyer, Shaffer & Stepans, PLLP
430 Ryman Street
Missoula, MT 59802
Tel: (406) 543-6929
Fax: (406) 721-1799
rob@mss-lawfirm.com
ryan@mss-lawfirm.com
james@mss-lawfirm.com
Attorneys for Plaintiffs
                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA )
MAPLEY,                      )
                             )                                 Case No. CV-20-52-BLG-SPW
            Plaintiffs,
                                                     j PLAINTIFF TRACY CAEKAERT'S
      vs.                      ANSWERS TO DEFENDANT
                                                     )
                               WATCHTOWER BIBLE AND
WATCHTOWER BIBLE AND TRACT ) TRACT SOCIETY OF NEW YORK,
SOCIETY OF NEW YORK, INC.,   ) INC.'S FffiST
WATCH TOWER BIBLE AND TRACT) INTERROGATORIES TO
SOCIETY OF PENNSYLVANIA, and ) PLAINTIFF TRACY CAEKAERT
BRUCE MAPLEY SR.,            )
                             )
              Defendants,    )

WATCHTOWER BIBLE AND TRACT                           j
SOCIETY OF NEW YORK, INC.,    )
             Cross Claimant,  )
                              )
BRUCE MAPLEY, SR.,            )
             Cross Defendant. )
______________                )



   Plaintiff Tracy Caekaert's Answers to Defendant Watchtower Bible and Tract Society ofNew York, Inc.'s
                               First Interrogatories to Plaintiff Tracy Caekaert - 1
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Delbert Hiebert (date unknown); Rhonda Klessens (1975-1976); Michael Locke

(1982-1983); Helen Evans (1988); Dennis Smith (1993-1994); Mike LNU (date

unknown); Tom LNU (therapist) (1996); therapist in Glendale, AZ (name not

known) (2014); Ian M. Sanders, MS, LPC, NCC (2020); Angela Gainan, BSN,

MSW, LCSW, Treasure State Counseling (2021 - current); Trent Holmberg, MD

(retained expert); David Caekaert (date unknown); Julie Potter Dunlap (date

unknown); Plaintiffs lawyers and staff.

      INTERROGATORY NO. 6: Please identify all persons who were

eyewitnesses to the abuse you suffered.

      ANSWER: THIS ANSWER CONTAINS INFORMATION THAT IS

PRIVATE, CONFIDENTIAL, AND SUBJECT TO THE PROTECTIVE ORDER

GOVERNING THE USE AND DISCLOSURE OF SUCH INFORMATION (ECF

DOC. 110, 111 ). Because the abuse at issue was many years ago, and because

emotional trauma caused by sexual abuse impacts the memory of its victims,

Plaintiff is not presently able to state, with certainty, every person who was an

eyewitness. To the best of Plaintiffs recollection, the following people were

witnesses to the abuse:

      •    Bruce Mapley, Sr.
      •    Camillia Mapley
      •    Rhonda Klessens Bell
      •    Gunner Hain
      •    Possibly Bruce Mapley, Jr.
   Plaintiff Tracy Caekaert's Answers to Defendant Watchtower Bible and Tract Society of New York, lnc.'s
                               First Interrogatories to Plaintiff Tracy Caekaert - 6
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                               DECLARA TIONNERIFICATION
       I have reviewed the foregoing Answers to Defendant Watchtower Bible and Tract

Society of New York, Inc.'s First Set oflnterrogatories and I declare under penalty of perjury

under the law of the United States of America that the foregoing are true and correct.



       EXECUTED ON THIS         flday ~    of                     , 2022.
